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                         UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA
                               EASTERN DIVISION



  SHIKEB SADDOZAI,                           No. ED CV 19-01994-DOC (DFM)

            Plaintiff,                       Order Accepting Report and
                                             Recommendation of United States
               v.                            Magistrate Judge

  ELOY VACA et al.,

            Defendants.


        Pursuant to 28 U.S.C. § 636, the Court has reviewed the pleadings and
  all the records and files herein, along with the Report and Recommendation of
  the assigned United States Magistrate Judge. No objections to the Report and
  Recommendation were filed, and the deadline for filing such objections has
  passed. The Court accepts the findings, conclusions, and recommendations of
  the United States Magistrate Judge.
        IT IS THEREFORE ORDERED that (1) Defendant’s Motion to
  Partially Dismiss Plaintiff’s Second Amended Complaint is GRANTED; (2)
  Plaintiff’s requests for declaratory and injunctive relief against Defendant Vaca
  and Plaintiff’s official-capacity claims against all Defendants are dismissed
  without leave to amend; and (3) Plaintiff’s individual-capacity claims against
  Defendants Hightshoe, McDowell, and the Director of the California
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  Department of Corrections and Rehabilitation are dismissed with leave to
  amend.
        If Plaintiff wishes to file a Third Amended Complaint, he must do so
  within twenty-eight (28) days of the date of this Order.



  Date: December 1, 2021                      ___________________________
                                              DAVID O. CARTER
                                              United States District Judge




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